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Case 1:24-cr-00008-WFK Document 1 Filed 01/05/24 Page 1 of 8 PageID #: 1
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                                                              * January 05, 2024 *
                                                             BROOKLYN OFFICE




                                                        24-CR-8




                                          Judge Dora Lizette Irizarry
                                          Magistrate Judge Robert M. Levy
Case 1:24-cr-00008-WFK Document 1 Filed 01/05/24 Page 2 of 8 PageID #: 2
Case 1:24-cr-00008-WFK Document 1 Filed 01/05/24 Page 3 of 8 PageID #: 3
Case 1:24-cr-00008-WFK Document 1 Filed 01/05/24 Page 4 of 8 PageID #: 4
Case 1:24-cr-00008-WFK Document 1 Filed 01/05/24 Page 5 of 8 PageID #: 5
Case 1:24-cr-00008-WFK Document 1 Filed 01/05/24 Page 6 of 8 PageID #: 6
Case 1:24-cr-00008-WFK Document 1 Filed 01/05/24 Page 7 of 8 PageID #: 7
Case 1:24-cr-00008-WFK Document 1 Filed 01/05/24 Page 8 of 8 PageID #: 8
